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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JAMES HARRIS,                                        )
                                                     )
                 Plaintiff,                          )
                                                     )     Case No.: 12-CV-8551
v.                                                   )
                                                     )     Judge Honorable Harry D.
UNIVERSITY OF CHICAGO, and University                      Leinenweber
                                                     )
of Chicago Police Officer Sergeant DAVID
                                                     )
DAVIS,                                                     Magistrate Judge Maria Valdez
                                                     )
                 Defendants.                         )
                                                     )

                                  ANSWER TO COMPLAINT

       Defendants, the UNIVERSITY OF CHICAGO and University of Chicago Police Officer

SERGEANT DAVID DAVIS, by their attorneys, Steven M. Puiszis and Corinne C. Heggie, and

for their Answer to Plaintiff s Complaint, state as follows:

                                       INTRODUCTION

       1.        This is a civil action seeking damages against defendants for committing acts

under color of law, and depriving plaintiff of rights secured by the Constitution and laws of the

United States.

       ANSWER:           Defendants admit Plaintiff has filed a civil action seeking damages

claiming that Defendants allegedly deprived Plaintiff of his rights under the Constitution.

Defendants deny that Plaintiff has any valid claim or cause of action against them by virtue

of or arising out of the Constitution and deny they violated Plaintiff s constitutional rights.

                                        JURISDICTION

       2.        The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

U.S.C., § 1983; the judicial code 28 U.S.C., § 1331 and 1343 (a); the Constitution of the United

States; and pendent jurisdiction as provided under U.S.C., § 1367(a).


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       ANSWER:        Defendants admit the existence of the statutory provisions cited in

paragraph 2, admit the existence of the United States Constitution and admit that

jurisdiction is properly vested in the district court.

                                             PARTIES

       3.      Plaintiff is a citizen of the United States of America, who at all times relevant

resided in Chicago, Cook County, Illinois.

       ANSWER:        Defendants admit the allegations set forth in paragraph 3 of

Plaintiff s Complaint.

       4.      Defendant David Davis, was, at the time of this occurrence, a duly licensed

University of Chicago Police Officer. He engaged in the conduct complained of in the course and

scope of his employment and under color of law. He is sued in his individual capacity.

       ANSWER:        Defendants admit that David Davis was employed by the University of

Chicago, admit that all times herein mentioned he was acting as an employee of the

University and admit he is being sued in his individual capacity. Further answering,

Defendants deny each and every remaining allegation contained in paragraph 4 of

Plaintiff s Complaint.

       5.      Defendant University of Chicago, ("University") was a private educational

institution that maintained, managed, and/or operated the University of Chicago Police

Department and was the employer and principal of the police officer defendants. At all times

relevant, the State of Illinois delegated the public functions traditionally performed by

exclusively municipal police officers and county sheriffs, state actors, to the University of

Chicago.

       ANSWER:        Defendants admit that the University of Chicago is a private

educational institution which operates its own police department as part of a private

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educational institution and was the employer of David Davis.             Further answering,

Defendants deny each and every remaining allegation contained in paragraph 5 of

Plaintiff s Complaint.

                                             FACTS

       6.      On October 24, 2010, at or near 6300 South Ingleside Avenue at approximately

3:25 p.m., Plaintiff James Harris encountered University of Chicago Police Department Sergeant

David Davis.

       ANSWER:        Defendants admit that at approximately 3:30 P.M. on October 24,

2010 Plaintiff was in a public place in the City of Chicago and encountered Defendant

Sergeant David Davis. Defendants deny each and every remaining allegation contained in

paragraph 6 of Plaintiff s Complaint.

       7.      Without probable cause or any other legal basis, Defendant Davis seized the

Plaintiffs person.

       ANSWER:        Defendants deny the allegations as set forth in paragraph 7 of

Plaintiff s Complaint.

       8.      Without probable cause or any other legal basis, Defendant Davis employed

excessive, unnecessary, and unreasonable force against the Plaintiff.

       ANSWER:        Defendants deny the allegations as set forth in paragraph 8 of

Plaintiff s Complaint.

       9.      Defendant Davis did not charge Plaintiff with a crime.

       ANSWER:        Defendants admit the allegations as set forth in paragraph 9 of

Plaintiff s Complaint.




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       10.     As a direct and proximate result of the malicious actions of Defendant Davis,

Plaintiff was injured, including loss of freedom, humiliation, embarrassment, the deprivation of

his constitutional rights and his dignity, physical injuries, lost time, and emotional distress.

       ANSWER:         Defendants deny the allegations as set forth in paragraph 10 of

Plaintiff s Complaint.

                                      Count I
         Section 1983 Fourth Amendment Violations             Illegal Search and Seizures

       11.     Plaintiff realleges each of the preceding paragraphs, as if fully set forth herein.

       ANSWER:         Defendants restate and reallege their answers to the preceding

paragraphs as and for their answer to paragraph 11 of Count I of Plaintiff s Complaint.

       12.     The searches and seizures of the plaintiff's person and property performed

willfully and wantonly by the Defendant, as detailed above, were in violation of plaintiff's right

to be free of unreasonable searches and seizures under the Fourth Amendment to the Constitution

of the United States and 42 U.S.C. § 1983.

       ANSWER:         Defendants deny the allegations as set forth in paragraph 12 of Count

I of Plaintiff s Complaint.

       13.     As a proximate result of the above-detailed actions of defendants, plaintiff was

injured, including the deprivation of his liberty and the taking of his person. In addition, the

violations proximately caused the plaintiff mental anguish, embarrassment, and humiliation,

exposed him to public scandal and disgrace, and caused him to incur various expenses, all to

Plaintiff's damage.

       ANSWER:         Defendants deny the allegations as set forth in paragraph 13 of Count

I of Plaintiff s Complaint. Defendants deny that plaintiff suffered any injuries or sustained

any damages as the proximate result of any improper or unlawful action by the defendants.


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                                           Count II
                      42 U.S.C. Section 1983 Violations         Excessive Force

        14.     Plaintiff realleges each of the preceding paragraphs, as if fully set forth herein.

        ANSWER:         Defendants restate and reallege their answers to the preceding

paragraphs as and for their answer to paragraph 14 of Count II of Plaintiff s Complaint.

        15.     The actions of the Officer Defendant constituted unreasonable, unjustifiable, and

excessive force against Plaintiff, thus violating his rights under the Fourth Amendment to the

United States Constitution, and 42 U.S.C., Section 1983.

        ANSWER:         Defendants deny the allegations as set forth in paragraph 15 of Count

II of Plaintiff s Complaint.

        16.     As a proximate result of the above-detailed actions of defendant, Plaintiff was

injured, including severe pain, physical injury, mental suffering, anguish and humiliation, and fear.

        ANSWER:         Defendants deny the allegations as set forth in paragraph 16 of Count

II of Plaintiff s Complaint.        Defendants deny that plaintiff suffered any injuries or

sustained any damages as the proximate result of any improper or unlawful action by the

defendants.

                                             Count III
                                        Respondeat Superior

        17.     Plaintiff realleges each of the preceding paragraphs, as if fully set forth herein.

        ANSWER:         Defendants restate and reallege their answers to the preceding

paragraphs as and for their answers to paragraph 17 of Count III of Plaintiff s Complaint/

        18.     Defendant University of Chicago is the employer of Defendant Officer David Davis.

        ANSWER:         Defendants admit that David Davis is employed by the University of

Chicago.



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         19.    Defendant Officer committed the acts alleged above under color of law and in the

scope of their employment as employees of the University of Chicago.

         ANSWER:       Defendants admit that defendant David Davis was acting in the course

and scope of employment at all times material and relevant hereto, but deny the allegations

as set forth in paragraph 19 of Count III of Plaintiff s Complaint.

         WHEREFORE, Plaintiff, JAMES HARRIS, is not entitled any judgment in his favor or

any damages or any attorneys fees in any amount whatsoever.

                                      AFFIRMATIVE DEFENSES

         Defendants, THE UNVERSITY OF CHICAGO and University of Chicago Police Officer

Sergeant DAVID DAVIS, by their attorneys, Steven M. Puiszis and Corinne C. Heggie, and in

the alternative, hypothetically, and without prejudice to their denials and other statements made

in their pleadings, as and for their Affirmative Defenses to Plaintiff s Complaint, state:

                                    First Affirmative Defense

         Defendant Sergeant DAVID DAVIS is entitled to qualified immunity from the §1983

claims brought against him.

                                   Second Affirmative Defense

         Plaintiff has failed to state a valid cause of action upon which relief can be granted

against THE UNVERSITY OF CHICAGO. Respondent Superior is not a basis to impose

liability under 42 U.S.C. §1983.

                                   Third Affirmative Defense

         Defendant Sergeant DAVID DAVIS was permitted to use reasonable force against the

Plaintiff when investigating whether assistance is needed, or in restraining plaintiff s freedom of

movement or in defending himself or another female officer against Plaintiff s threatened use of

force.

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                                  Fourth Affirmative Defense

       Reasonable grounds to believe criminal activity was afoot and/or probable cause existed

for Plaintiff s temporary detention.

                                       Fifth Affirmative Defense

       To the extent Plaintiff has failed to mitigate his injuries and damages, any judgment or

award entered in his favor should be limited or reduced to the extent Plaintiff could have avoid

those damages by taking reasonable steps to minimize any such damages.

       WHEREFORE, Defendants pray that this Honorable Court enter judgment in their favor

as to all claims brought against them on these, their Affirmative Defenses.


                                                       Respectfully submitted,

                                                      By:s/Corinne C. Heggie_______________
                                                      One of the Attorneys for Defendants, The
                                                      University of Chicago and University of
                                                      Chicago Police Officer Sergeant David
                                                      Davis

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                               CERTIFICATE OF SERVICE

       I, the undersigned, an attorney, on oath state that on March 1, 2013, I served the above

and foregoing Answer to Complaint via electronic mail to the following:

Jared Samuel Kosoglad
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Chicago, IL 60661
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                                           Respectfully submitted,

                                           /s/Corinne C. Heggie
                                           One of the Attorneys for Defendants,
                                           University of Chicago and University of Chicago
                                           Police Officer Sergeant David Davis
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